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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION



FLORIDIANS PROTECTING
FREEDOM, INC.,

      Plaintiff,

v.                                        Case No.: 4:24cv419-MW/MAF

JOSEPH A. LADAPO,

     Defendant.
____________________________/

                     NOTICE OF VOLUNTARY DISMISSAL

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff

Floridians Protecting Freedom, Inc., hereby voluntarily dismisses all claims

brought against Defendant Ladapo with prejudice.

      DATED this 17th day of December, 2024.
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                                     Respectfully submitted,

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                                     By:     /s/Jennifer S. Blohm
                                             JENNIFER S. BLOHM
                                             Florida Bar No.: 106290

                                     ATTORNEY FOR PLAINTIFF


                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that the foregoing document was electronically filed

and served by electronic notification in accordance with the Court’s CMECF

system on this 17th day of December, 2024.



                                     /s/Jennifer S. Blohm
                                     JENNIFER S. BLOHM




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